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                                                                                             U.S. DISTRICT
                                                                                 CIRCUIT COURT     OF      COURT
                                                                                                 N.D. OF ALABAMA
                                                                              WALKER COUNTY, ALABAMA
                                                                                SUSAN ODOM, CLERK
               IN THE CIRCUIT COURT OF WALKER COUNTY, ALABAMA

SAMUEL WADE MONTGOMERY,           )
As Personal Representative and    )
Administrator of the Estate of SARAH
                                  )
RENAE MONTGOMERY, deceased;       )
SAMUEL WADE MONTGOMERY,           )
Individually,                     )
                                  )
        Plaintiffs,               )
                                  )
vs.                               ) CASE NO. CV 2015 - 900088
                                  )
BAPTIST HEALTH SYSTEM, INC. d/b/a )
Walker Baptist Medical Center;    )
KENT ALAN TAUB, M.D.;             )
GREG SMITH, CRNP; PEGASUS         )
EMERGENCY GROUP SHA, LLC,         )
a limited liability corporation,  )
                                  )
        DEFENDANTS.               )

FICTITIOUS DEFENDANTS A, B, C, intending to refer to that entity or entities commonly known
as and d/b/a Walker Baptist Medical Center;

FICTITIOUS DEFENDANTS D, E, F, intending to refer to that entity or entities who owned
and/or operated Walker Baptist Medical Center;

FICTITIOUS DEFENDANTS G, H, I, intending to refer to that entity or entities for whom Kent
Alan Taub, M.D. was employed and/or acting for and on behalf of at all material times herein;

FICTITIOUS DEFENDANTS J, K, L, intending to refer to that entity or entities vicariously
responsible for the acts and/or omissions of Kent Alan Taub, M.D.;

FICTITIOUS DEFENDANTS M, N, O, intending to refer to that entity or entities for whom Greg
Smith, CRNP was employed and/or acting for and on behalf of at all material times herein;

FICTITIOUS DEFENDANTS P, Q, R, intending to refer to that entity or entities vicariously
responsible for the acts and/or omissions of Greg Smith, CRNP;

FICTITIOUS DEFENDANTS S, T, U, V, W, X, Y, Z, intending to refer to those persons, firms,
corporations, or other legal entities legally responsible for the tortious conducts and legal wrongs
complained of in the Complaint,


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            PLAINTIFF’S FIRST AMENDMENT TO COMPLAINT - ADDING
         AS A PARTY DEFENDANT, PEGASUS EMERGENCY GROUP SHA, LLC
            AND BY ADDING AN EMTALA CLAIM (42 U.S.C. § 1395, dd, et al)


         1.    Plaintiff adopts each and every material averment of the original Complaint as if fully

set out herein. Plaintiff hereby attaches a copy of the original Complaint.

         2.    Plaintiff hereby adds, as a party defendant, Pegasus Emergency Group SHA, LLC.

         3.    Plaintiff avers that the Defendants, Kent Alan Taub, M.D. and Greg Smith, CRNP,

were dual agents, servants, or employees of the Defendant, Pegasus Emergency Group SHA, LLC.

(hereinafter referred to as “Pegasus”), as well as Defendant, Baptist Health System, Inc., d/b/a

Walker Baptist Medical Center.

         4.    Plaintiff further avers that the Defendants, Pegasus and Baptist Health System, Inc.,

are vicariously liable for the acts and/or omissions of Defendants, Taub and Smith.

         5.    Plaintiff further avers that the Defendant, Kent Alan Taub, M.D., was the Medical

Director of the Emergency Department at the Defendant, Baptist Health Systems, Inc., d/b/a Walker

Baptist Medical Center. As such, Defendant, Taub, M.D., had specific responsibility for compliance

with Federal law within the Emergency Department.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff claims of the Defendants,

separately and severally, compensatory damages in an amount to be determined by struck jury, plus

costs.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff, as Administrator of the Estate of

Sarah Renae Montgomery, deceased, claims of the Defendants, separately and severally, punitive




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damages in amount to be determined by struck jury, set amount to fulfill and accomplish the intent

and purpose of the Alabama Wrongful Death Act, plus costs.

                                    COUNT THREE
                              (EMALTA- STRICT LIABILITY)

       1.      This count is brought pursuant to, and by virtue of, The Emergency Medical

Treatment and Active Labor Act (42 U.S.C. § 1395, dd, et al) (hereinafter referred to as

“EMTALA”).

       2.      Plaintiff further avers that his sixteen (16) year old son, Travis Michael Montgomery,

a minor, was suffering from an “emergency medical condition” as defined by EMTALA.

       3.      The “emergency medical condition” that Travis Michael Montgomery was suffering

from was expression of suicidal and/or homicidal thoughts or gestures directed toward the Plaintiff

and Sarah Renae Montgomery.

       4.      Travis Michael Montgomery was determined to be dangerous to self or others

(Samuel Wade Montgomery and Sarah Renae Montgomery).

       5.      The Plaintiff further avers that the Defendant, Baptist Health System, Inc., d/b/a

Walker Baptist Medical Center, and Defendant, Pegasus, violated the mandatory, statutory

requirements of 42 U.S.C. § 1395, dd, by failing to treat, stabilize, or transfer Travis Michael

Montgomery to an appropriate medical facility, to assure with a reasonable medical probability, that

no material deterioration of Travis Michael Montgomery’s condition occurred.

       6.      Plaintiff further avers that the Defendant, Kent Alan Taub, M.D., as Medical Director

of Defendant’s Baptist Health System, Inc., d/b/a Walker Baptist Medical Center Emergency

Department, had primary responsibility to insure that Federal law, specifically including, but not



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limited to, “EMTALA” was complied with in the overall operation of the Walker Baptist Medical

Center Emergency Department, specifically including, but not limited to, this case.

        7.       Plaintiff further avers that these Defendants, Walker Baptist Medical Center and

Pegasus, by and through it’s agents, servants, or employees, Taub and Smith, failed to treat, stabilize,

or transfer Travis Michael Montgomery to an appropriate facility for definitive stabilization and

treatment.

        8.       The Plaintiff further avers that Travis Michael Montgomery was discharged from the

Emergency Department at Walker Baptist Medical Center in an unstable condition by virtue of the

fact that he was still a threat to self or others (Samuel Wade Montgomery and Sarah Renae

Montgomery). Said instability was manifested by overt acts or threats of harm to self and others.

        9.       Pursuant to the mandatory statutory requirements of EMTALA, the Defendants,

Baptist Health Systems, Inc. and Pegasus, are “strictly liable” to the Plaintiff for his personal injuries,

as well as the wrongful death of Sarah Renae Montgomery. The undisputed and uncontroverted

facts of this case, as set forth in the medical emergency department record, conclusively establish

the following:

                 A)     Travis Michael Montgomery, a minor, was suffering from an “emergency

                        medical condition” as defined by EMTALA when he presented to the

                        Emergency Department.

                 B)     Travis Michael Montgomery, a minor, was not treated, stabilized, or

                        transferred to an appropriate medical facility to assure that no material

                        deterioration of his condition occurred.

                 C)     Travis Michael Montgomery was discharged from the Emergency


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                      Department at Walker Baptist Medical Center in an unstable medical

                      condition.

       Hence, the medical record of the Emergency Department at Walker Baptist Medical Center

constitutes a prima facie showing of EMTALA violations, contrary to Federal law.

       10.    The Plaintiff further avers that he was injured and damaged as set forth in the original

Complaint as a direct result or consequence of the Defendants’ violation of EMTALA.

       11.    The Plaintiff further avers that the wrongful death of Sarah Renae Montgomery was

caused as a direct result or consequence of the Defendants’ violation of EMTALA.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Samuel Wade Montgomery,

claims of the Defendants damages pursuant to, and by virtue of, EMTALA, and the Alabama

Wrongful Death Act.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Samuel Wade Montgomery, as

Administrator of the estate of Sarah Renae Montgomery, claims of the Defendants damages pursuant

to EMTALA, and the Alabama Medical Liability Act.



                                              /s/ S. Shay Samples
                                              STEPHEN SHAY SAMPLES (SAM004)
                                              ASHLEY REITZ PEINHARDT (REI043)
                                              Attorneys for Plaintiffs

OF COUNSEL:
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Email: ashley@hwnn.com


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                                              /s/ Michael D. Petway
                                              Michael D. Petway (PET036)
                                              Attorney for Plaintiffs
OF COUNSEL:
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Birmingham, AL 35223
Phone: 205-977-9798
Email: mpetway@fpflaw.com



                   PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY




PLEASE SERVE DEFENDANT BY CERTIFIED MAIL AT:

PEGASUS EMERGENCY GROUP SHA, LLC
c/o Martin Trpis, Esquire
VP of Operations and General Counsel
4M Emergency
1007 East Main Street, Suite 300
Bozeman, Montana 59715




                                 CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of the above and foregoing on this the 28th day of
April, 2015, upon the following counsel of record by U. S. Mail, postage prepaid, as follows:

Baptist Health System, Inc.
c/o Jasper P. Juliano, Esquire
600 Vestavia Parkway, Ste 300
Birmingham, Alabama 35216




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Kent Alan Taub, M.D.
c/o Martin Trpis, Esquire
VP of Operations and General Counsel
4M Emergency
1007 East Main Street, Suite 300
Bozeman, Montana 59715

Greg Smith, CRNP
c/o Martin Trpis, Esquire
VP of Operations and General Counsel
4M Emergency
1007 East Main Street, Suite 300
Bozeman, Montana 59715


                                         /s/ S. Shay Samples
                                         STEPHEN SHAY SAMPLES (SAM004)




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                                                                                 CIRCUIT COURT OF
                                                                              WALKER COUNTY, ALABAMA
                                                                                SUSAN ODOM, CLERK
               IN THE CIRCUIT COURT OF WALKER COUNTY, ALABAMA

                             CIVIL ACTION NO: _______________


SAMUEL WADE MONTGOMERY, As Personal Representative and Administrator of the Estate
of SARAH RENAE MONTGOMERY, deceased;

SAMUEL WADE MONTGOMERY, Individually,

       Plaintiffs,

vs.

BAPTIST HEALTH SYSTEM, INC. d/b/a Walker Baptist Medical Center;

KENT ALAN TAUB, M.D.;

GREG SMITH, CRNP;

FICTITIOUS DEFENDANTS A, B, C, intending to refer to that entity or entities commonly known
as and d/b/a Walker Baptist Medical Center;

FICTITIOUS DEFENDANTS D, E, F, intending to refer to that entity or entities who owned
and/or operated Walker Baptist Medical Center;

FICTITIOUS DEFENDANTS G, H, I, intending to refer to that entity or entities for whom Kent
Alan Taub, M.D. was employed and/or acting for and on behalf of at all material times herein;

FICTITIOUS DEFENDANTS J, K, L, intending to refer to that entity or entities vicariously
responsible for the acts and/or omissions of Kent Alan Taub, M.D.;

FICTITIOUS DEFENDANTS M, N, O, intending to refer to that entity or entities for whom Greg
Smith, CRNP was employed and/or acting for and on behalf of at all material times herein;

FICTITIOUS DEFENDANTS P, Q, R, intending to refer to that entity or entities vicariously
responsible for the acts and/or omissions of Greg Smith, CRNP;

FICTITIOUS DEFENDANTS S, T, U, V, W, X, Y, Z, intending to refer to those persons, firms,
corporations, or other legal entities legally responsible for the tortious conducts and legal wrongs
complained of in the Complaint,




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all of whose other names are otherwise unknown but will be added by amendment when ascertained.

       Defendants.


                                      COMPLAINT
                           (Alabama Medical Liability Act)
                          (Wrongful Death/Personal Injury)

1. Plaintiff, Samuel Wade Montgomery, is the surviving husband of the decedent, Sarah Renae

Montgomery, who died on November 11, 2013. Plaintiff, Samuel Wade Montgomery, is the duly

qualified Personal Representative and Administrator of the Estate of his deceased wife, Sarah Renae

Montgomery and brings a wrongful death action in said capacity.

2. Plaintiff, Samuel Wade Montgomery, is an individual who brings this action in his individual

capacity for injuries and damages he has suffered.

3. Defendant, Baptist Medical System, Inc., is a corporation who owns and/or operates Walker

Baptist Medical Center.

4. Defendant, Kent Alan Taub, M.D., is an adult individual who was engaged in the practice of

emergency medicine on the date of the occurrence made the basis of this suit. Defendant, Kent Alan

Taub, M.D., was acting for and on behalf of Defendant, Baptist Medical System, Inc., and

consequently, Defendant, Baptist System, Inc., is vicariously liable for the acts and omissions of

Defendant, Kent Alan Taub, M.D.

5. Defendant, Greg Smith, CRNP, is an adult individual who was acting as a nurse practitioner on

the date of the occurrence made the basis of this suit. Defendant, Greg Smith, CRNP, was acting for

and on behalf of Defendant, Baptist Medical System, Inc., and consequently, Defendant, Baptist

System, Inc., is vicariously liable for the acts and omissions of Defendant, Greg Smith, CRNP

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7. The Fictitious Defendants “A - Z” are fictitious defendants whose true names are otherwise

unknown but will be added by amendment when ascertained.

8. Plaintiff avers that on November 10, 2013 his sixteen (16) year old son, Travis Michael

Montgomery, a minor, was taken to Defendant, Baptist Health System, Inc., d/b/a Walker Baptist

Medical Center’s Emergency Department by the Plaintiff and his deceased mother, Sarah Renae

Montgomery.

9. At said time and place, the Defendant, Baptist Health System, Inc., d/b/a Walker Baptist Medical

Center, by and through it’s healthcare employees, and the Defendants, Kent Alan Taub, M.D. and

Greg Smith, CRNP, undertook to diagnose, care for, and treat their minor son, Travis Michael

Montgomery.

10. The chief complaint of Travis Michael Montgomery was Alcohol Intoxication and psychiatric

evaluation. The diagnoses were: Suicidal Ideation, Homicidal Ideation, and Alcohol Intoxication.

11. Travis Michael Montgomery presented to the Walker Baptist Medical Center’s Emergency

Department for psychiatric evaluation due to alcohol intoxication. The Walker Baptist Medical

Center medical record documents that the mother stated that her son was picked up by the Haleyville

police with a blood alcohol level which was four times the legal limit. The medical record further

documents that Travis told the Haleyville police he wanted to kill himself. The Plaintiff further

avers that the police recommended obtaining an emergency psychiatric evaluation.

12. The Walker Baptist Medical Center record further confirms that Travis was presenting with a

mental health disorder and that the history was provided by Travis and his parents.

13. The Walker Baptist Medical Center record confirms that Travis was suffering from a serious and

severe mental health problem at said time and place, and that the primary symptoms include: bizarre


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behavior. The current episode started that day, and the bizarre behavior appeared to be unchanged

since it’s onset.

14. The Walker Baptist Medial Center record further documents that the onset of the illness was

precipitated by alcohol abuse, and that the degree of incapacity that Travis was experiencing as a

consequence of his mental illness was severe. The Plaintiff further avers that Travis’ urine drug

screen was positive for cannabinoids (marijuana).

15. The Walker Baptist Medical Center record also documents that the additional symptoms of his

illness included poor judgment. Travis Michael Montgomery admitted to suicidal ideas and

contemplated injuring or contemplated harming himself, as well as contemplating injuring another

person. The Sign-In sheet for Emergency Services filled out by Travis Michael Montgomery

documents that the reason for his presentation to the Emergency Department was “Wants to die”.

16. The psychiatric evaluation, done by the Defendants, Kent Alan Taub, M.D. and Greg Smith,

CRNP, documented that Travis Michael Montgomery’s speech was slurred and he was slow. It

further documented suicidal and homicidal ideation.

17. The psychiatric evaluation also documented that Travis Montgomery was solemn with very

limited responses to interview questions. There was no eye contact, and therefore, there was limited

interaction with the inability to fully assess his psychological state. Travis Michael Montgomery was

withdrawn from interaction with the healthcare team.

17. The Walker Baptist Medical Center Emergency Department record also documents that Travis

Michael Montgomery was suffering from both suicidal ideations and homicidal ideations (Directed

specifically towards his parents, Samuel Wade Montgomery and Sarah Renae Montgomery). Travis’

parents, Samuel Wade Montgomery and Sarah Renae Montgomery, were uncomfortable having him


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at home without psychiatric evaluation and treatment.

18. The Defendants also obtained a history that Travis Michael Montgomery had been picked up

from Haleyville jail by his parents with an alcohol level four times the legal limit and furthermore

that Travis had stated to the Haleyville police officer that “he wanted to die”. Travis also informed

the Defendants “...that he thought of choking his parents with a cord the entire way to the

hospital....”.

19. The Walker Baptist Medical Center medical record further documents that Travis Michael

Montgomery needed and required emergency psychiatric evaluation, care, and treatment.

20. Travis’ parents, Samuel Wade Montgomery and Sarah Renae Montgomery, were insistent on

inpatient admission due to Travis’ psychiatric condition and expressed homicidal and suicidal

ideations. The record further documents that it was acceptable to them to send Travis to any facility

that would admit him.

21. The Walker Baptist Medical Center Emergency Department records document that the degree

of incapacity that Travis was experiencing as a consequence of his illness was severe.

22. The Walker Baptist Medical Center medical record documents that the decedent, Sarah Renae

Montgomery, signed a Consent for Treatment form for her son, Travis Michael Montgomery, a

minor. The Walker Baptist Medical Center records also document that Travis Michael Montgomery

also signed a Consent For Treatment form.

23. The Walker Baptist Medical Center records unequivocally document that the decedent, Sarah

Renae Montgomery, expressly approved of having Travis admitted to any facility that would admit

him. Under Alabama Law, the parents have the absolute legal right to have their minor child

admitted as an inpatient to a facility, even if said minor child does not consent.


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24 The Defendants attempted placement of Travis to receive further psychiatric evaluation and

treatment but were unsuccessful, allegedly due to the unavailability of beds at Children’s Hospital,

Brookwood Hospital, and Hillcrest Hospital, in Birmingham.

25. The medical records further confirm that Samuel Wade Montgomery and Sarah Renae

Montgomery were not informed that they had the absolute legal right, as parents, to have their minor

son admitted as an inpatient without his consent.

26. The Defendants located an available psychiatric bed for inpatient hospitalization at Decatur

General West. Decatur General West agreed to accept Travis Montgomery as an inpatient.

Notwithstanding the fact that, under Alabama law, the parents have an absolute right to have Travis

Montgomery, a minor, admitted, the Defendants allowed Travis Montgomery to refuse transfer and

admission to Decatur General West. Travis Michael Montgomery refused admittance to Decatur

General West, and the Defendants allowed Travis Montgomery to be discharged AMA (against

medical advice).

27. The Defendants failed to inform the Plaintiff and the Plaintiff’s decedent that they had the

absolute legal right to have Travis Montgomery admitted against his will and without his consent.

The Defendants had actual notice and knowledge that Travis Montgomery required a higher level

of care, including pediatric psychiatry.

28. The Defendants had actual notice and knowledge that Travis Montgomery was making explicit,

credible, realistic, and overt threats of homicidal actions against the Plaintiff and the Plaintiff’s

decedent, as well as suicidal ideation. The severity and specificity of Travis Montgomery’s

homicidal threats against the Plaintiff and Plaintiff’s decedent posed an imminent risk of harm and

danger to Plaintiff and Plaintiff’s decedent. The Defendants also had actual notice and knowledge


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that Travis Montgomery was unable to make a rational decision relative to the need for in-patient

hospitalization and treatment. The Defendants also knew that, without inpatient hospitalization and

treatment of Travis Montgomery, the Plaintiff and Plaintiff’s decedent were in harm’s way. The

Defendants had clear and convincing evidence that Travis Montgomery posed a real and present

threat and danger of substantial harm to self and others (Specifically, his parents.).

29. The Defendants also failed to utilize the provisions of §22-52-91 Alabama Code relative to

emergency hospitalization for evaluation of patients posing a clear and present danger to self and

others.    This statutory provision provides for emergency hospitalization and evaluation.

Notwithstanding this, Travis Montgomery was allowed to leave the Emergency Department AMA,

and the treatment plan formulated by the Defendants was to release Travis Montgomery to his

parents’ custody with the plan to institute involuntary commitment proceedings on the following

Monday (The date of discharge was Saturday).

30. Plaintiff further avers that the Defendants, Baptist Health System, Inc., Kent Alan Taub, M.D.,

and Greg Smith, NP, separately and severally, were under a legal duty to possess and exercise

reasonable care, skill and diligence relative to the diagnosis, care and treatment of Travis

Montgomery.

31. Plaintiff further avers that the Defendants, Baptist Health System, Inc., Kent Alan Taub, M.D.,

and Greg Smith, NP, separately and severally, owed a legal duty to the Plaintiff and the Plaintiff’s

decedent by virtue of the fact that they had actual notice and knowledge that Travis Montgomery was

making direct, overt threats of killing the Plaintiff and the Plaintiff’s decedent.

32. Plaintiff further avers that the Defendants, Kent Alan Taub, M.D., and Greg Smith, NP,

separately and severally, fell below the minimum standard of care required of them in the diagnosis,


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care and treatment of Travis Montgomery, and hence, were negligent in one or more of the following

ways, to-wit:

       a.       Negligently diagnosed, cared for, and treated Travis Montgomery;

       b.       Negligently failed to have Travis Montgomery admitted to an appropriate hospital

                for psychiatric evaluation and treatment;

       c.       Negligently discharged Travis Montgomery;

       d.       Negligently failed to hold Travis Montgomery until a psychiatric bed at an

                appropriate mental healthcare facility became available;

       e.       Negligently failed to transfer Travis Montgomery to an appropriate healthcare facility

                for inpatient psychiatric admission, evaluation, and treatment;

       f.       Negligently caused, allowed, or permitted Travis Montgomery to leave the

                Emergency Department AMA;

       g.       Negligently caused, allowed, or permitted Travis Montgomery to be discharged from

                the Emergency Department while still impaired from alcohol and/or drugs.;

       h.       Negligently failed to inform the Plaintiff and the Plaintiff’s decedent of their absolute

                legal right to have Travis Montgomery admitted as an inpatient without his consent;

       I.       Negligently failed to take reasonable measures and precautions to protect the Plaintiff

                and the Plaintiff’s decedent;

       j.       Negligently failed to adequately warn the Plaintiff and the Plaintiff’s decedent of the

                high risk of harm and danger that Travis Montgomery posed to them;

       k.       Negligently failed to obtain the proper and safe disposition and treatment of Travis

                Montgomery;


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       l.      Negligently failed to obtain or enlist the assistance of a law enforcement officer to

               accomplish and facilitate the admission of Travis Montgomery to an appropriate

               mental health care facility;

       m.      Negligently failed to utilize and/or comply with §22-52-91, Alabama Code to have

               Travis Montgomery admitted to an appropriate mental health care facility;

       n.      Negligently failed to obtain a psychiatric consultation for Travis Montgomery in the

               Emergency Department.

33. Plaintiff further avers that the Defendant, Baptist Health System, Inc. d/b/a Walker Baptist

Medical Center, fell below the minimum standard of care required of it, and hence, was negligent,

in or more of the following way, to-wit:

       a.      Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

               policies, procedures, guidelines, rules, and regulations relative to the proper and safe

               disposition and treatment of mentally and/or emotionally unstable patients evaluated

               in the Emergency Department;

       b.      Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

               policies, procedures, guidelines, rules, and regulations relative to patients who are

               suicidal and/or homicidal when evaluated in the Emergency Department;

       c.      Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

               policies, procedures, guidelines, rules, and regulations relative to inpatient admission

               of mentally and/or emotionally unstable patients seen in the Emergency Department;

       d.      Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

               policies, procedures, guidelines, rules, and regulations relative to transfer of patients


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     requiring inpatient psychiatric evaluation and treatment;

e.   Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

     policies, procedures, guidelines, rules, and regulations relative to emergency

     hospitalization for evaluation of patients requiring inpatient psychiatric care and

     treatment;

f.   Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

     policies, procedures, guidelines, rules, and regulations relative to psychiatric

     evaluations in the Emergency Department;

g.   Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

     policies, procedures, guidelines, rules, and regulations relative to psychiatric

     consultations in the Emergency Department;

h.   Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

     policies, procedures, guidelines, rules, and regulations relative to proper, adequate,

     and safe disposition of patients seen in the Emergency Department who are

     dangerous and who pose a significant risk of harm to self and/or others;

I.   Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

     policies, procedures, guidelines, rules, and regulations relative to the utilization

     and/or compliance with §22-52-92, Alabama Code;

j.   Negligently failed to formulate, implement and/or enforce proper, adequate, and safe

     policies, procedures, guidelines, rules, and regulations relative to disposition and

     inpatient hospitalization of minors seen in the Emergency Department who require

     emergency inpatient hospitalization.


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34. Plaintiff further avers that as a direct or proximate result or consequence of the combining and

concurring negligence of the Defendants, Baptist Health System, Inc., Kent Alan Taub, M.D., Greg

Smith, CRNP, separately and severally, Travis Montgomery attacked the Plaintiff with a knife and

stabbed him repeatedly, and directly caused the Plaintiff the following injuries and damages, to-wit:

       a.      He was caused to suffer Brown-Sequard Syndrome as a consequence of Travis

               Montgomery’s knife stab wound attack to his neck;

       b.      He was caused to suffer traumatic spinal cord dysfunction as a consequence of Travis

               Montgomery’s attack;

       c.      He was caused to suffer physical pain and suffering;

       d.      He was caused to suffer mental anguish and emotional distress;

       e.      He was caused to suffer a left pneumothorax and pneumomediastinum;

       f.      He was caused to suffer substantial, significant, and catastrophic permanent

               neurological injuries and damages;

       g.      He was caused to suffer urinary and fecal incontinence;

       h.      He was caused to suffer sexual dysfunction;

       I.      He was caused to suffer Post-Traumatic Stress Syndrome;

       j.      He was caused to suffer severe and profound depression secondary to bereavement

               and grief reaction secondary to the loss of his wife;

       k.      He was caused to be disabled and unable to engage in substantial gainful

               employment, past and future;

       l.      He was caused to incur substantial medical expenses and will continue to incur

               medical expenses in the future;


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       m.      He was caused to suffer an interference of his normal daily activities;

       n.      He was caused to suffer loss of enjoyment of life;

       o.      He was caused to be disfigured;

       p.      He was otherwise grievously injured and damages, all to his detriment.

35. Plaintiff further avers that his injuries and damages were proximately caused by the combining

and concurring negligence of the Defendants, separately and severally.

36. Plaintiff further avers that as a direct consequence of the aforesaid combining and concurring

negligence of the Defendants, Baptist Health System, Inc., Kent Alan Taub, M.D., Greg Smith,

CRNP, separately and severally, Travis Montgomery attacked Sarah Renae Montgomery and stabbed

her to death. The Plaintiff further avers that the combining and concurring negligence, of the above-

named Defendants, separately and severally, proximately caused the wrongful death of Sarah Renae

Montgomery.



WHEREFORE, PREMISES CONSIDERED, Plaintiff claims of the Defendants, separately and

severally, compensatory damages in an amount to be determined by struck jury, plus costs.



WHEREFORE, PREMISES CONSIDERED, Plaintiff, as Administrator of the Estate of Sarah Renae

Montgomery, deceased, claims of the Defendants, separately and severally, punitive damages in an

amount to be determined by a struck jury, said amount to fulfill and accomplish the intent and

purpose of the Alabama Wrongful Death Act, plus costs.




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                                          COUNT TWO
                                     (FICTITIOUS PARTIES)


         37. Plaintiffs adopt each and every material averment of Count One as if fully set out herein.

         38. Plaintiffs further aver that the breaches of the standard of care, negligence and other

tortious conduct of the Fictitious Defendants, identified as Defendants, “A through Z”, combined

and concurred with the negligence of the named Defendants, to proximately cause the injuries and

damages to Samuel Wade Montgomery and the wrongful death of Sarah Renae Montgomery, as set

out in Count One above. Defendants, “A through Z”, whose current names and identities are

unknown to the Plaintiff at the present time, will be correctly named and identified when they are

ascertained.



WHEREFORE, PREMISES CONSIDERED, Plaintiff claims of the Fitctitious Defendants,

separately and severally, compensatory damages in an amount to be determined by struck jury, plus

costs.

WHEREFORE, PREMISES CONSIDERED, Plaintiff, as Administrator of the Estate of Sarah Renae

Montgomery, deceased, claims of the Fictitious Defendants, separately and severally, punitive

damages in an amount to be determined by a struck jury, said amount to fulfill and accomplish the

intent and purpose of the Alabama Wrongful Death Act, plus costs.



                                                /s/ S. Shay Samples
                                                STEPHEN SHAY SAMPLES (SAM004)
                                                ASHLEY REITZ PEINHARDT (REI043)
                                                Attorneys for Plaintiffs



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                                DOCUMENT 2
      Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 21 of 93



OF COUNSEL:
HARE, WYNN, NEWELL & NEWTON, LLP
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Birmingham, AL 35203
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Email: shay@hwnn.com
Email: ashley@hwnn.com


                                   /s/ Michael D. Petway
                                   Michael D. Petway (PET036)
                                   Attorney for Plaintiffs

OF COUNSEL:
FUSTON, PETWAY & FRENCH
600 Luckie Drive, Suite 300
Birmingham, AL 35223
Phone: 205-977-9798
Email: mpetway@fpflaw.com



              PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY



                                          /s/ S. Shay Samples
                                          STEPHEN SHAY SAMPLES
                                          ASHLEY REITZ PEINHARDT
                                          Attorneys for Plaintiffs




PLEASE SERVE DEFENDANT BY CERTIFIED MAIL AT:
Baptist Health System, Inc.
Reg. Agent, Kerry Black
1130 22nd Street South
Suite 1000
Birmingham, AL 35205




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                                DOCUMENT 2
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DEFENDANTS TO BE SERVED BY PROCESS SERVER
Kent Alan Taub, M.D.
3004 Glen Willow Court, S.E.
Owens Cross Roads, AL 35763-8484

Greg Smith, CRNP
530 Ridgefield Way
Odenville, AL 35120-5469




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                                                                              CIRCUIT COURT OF
                                                                           WALKER COUNTY, ALABAMA
                                                                             SUSAN ODOM, CLERK
               IN THE CIRCUIT COURT OF WALKER COUNTY, ALABAMA

SAMUEL WADE MONTGOMERY, As Personal                 )
Representative and Administrator of the Estate of   )
SARAH RENAE MONTGOMERY, deceased;                   )
SAMUEL WADE MONTGOMERY, Individually,               )
                                                    )
       Plaintiffs,                                  )
                                                    )
vs.                                                 )      CIVIL ACTION NO:
                                                    )      __________________
BAPTIST HEALTH SYSTEM, INC. d/b/a                   )
Walker Baptist Medical Center;                      )
KENT ALAN TAUB, M.D.;                               )
GREG SMITH, CRNP, et al.,                           )
                                                    )
       Defendants.                                  )


           PLAINTIFF’S INTERROGATORIES TO THE DEFENDANT,
  BAPTIST HEALTH SYSTEM, INC. d/b/a WALKER BAPTIST MEDICAL CENTER;
              KENT ALAN TAUB, M.D.; and GREG SMITH, CRNP

       Comes now the Plaintiff in the above styled cause, by and through counsel, and pursuant to

the Alabama Rules of Civil Procedure propound the following interrogatories to the Defendants,

separately and severally, BAPTIST HEALTH SYSTEM, INC. d/b/a WALKER BAPTIST

MEDICAL CENTER; KENT ALAN TAUB, M.D.; and GREG SMITH, CRNP:



1. Please identify the names of the individuals who contacted The Children’s Hospital, Brookwood

Medical Center, Hillcrest Medical Center, and Decatur General -West Hospital relative to Travis

Michael Montgomery on November 10, 2013.



2. Please identify the names of the individuals who were spoken to at The Children’s Hospital,



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Brookwood Medical Center, Hillcrest Medical Center, and Decatur General -West Hospital relative

to Travis Michael Montgomery on November 10, 2013.



3. Please state the names of any and all psychiatrists, psychologists or other mental health care

professionals who were consulted or spoken to relative to Travis Michael Montgomery on November

10, 2013.



4. Please state in detail each and every reasons why you did not attempt to utilize § 22-52-91

Alabama Code relative to having Travis Michael Montgomery admitted to an appropriate mental

healthcare facility on November 10, 2013.



5. Please state in detail each and every reason why Travis Michael Montgomery was not admitted

to the inpatient psychiatric unit at Walker Baptist Medical Center on November 10, 2013.



6. Please state in detail any and all precautions you took to protect the Plaintiff and the Plaintiff’s

decedent from the risk of injury, harm, or homicide by Travis Michael Montgomery on November

10, 2013.



7. Please state in detail each and every reason why you allowed or permitted Travis Michael

Montgomery to leave the Walker Baptist Medical Center Emergency Department against medical

advice (AMA) on November 10, 2013?




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8. Do you acknowledge that it was risky and dangerous to allow or permit Travis Michael

Montgomery to leave the Walker Baptist Medical Center Emergency Department against medical

advice (AMA) given his mental, emotional and psychiatric condition on November 10, 2013? If no,

please state in detail each and every reason why.



9. Please state each and every reason why you did not obtain a psychiatric consultation and/or

evaluation of Travis Michael Montgomery in the Emergency Department on November 10, 2013.



10. Did you believe that Travis Michael Montgomery was in need of inpatient psychiatric evaluation

and hospitalization on November 10, 2013? If yes, then why did you not arrange for same?



11. Were you aware that the Plaintiff and the Plaintiff’s decedent intended on filing a Petition for

Involuntary Commitment of Travis Michael Montgomery on Monday, November 12, 2013?



12. Would you have supported the Plaintiff and the Plaintiff’s decedent if they had filed a Petition

for Involuntary Commitment of Travis Michael Montgomery? If not, explain why not.



13. Do you believe that Travis Michael Montgomery was actively suffering from a serious mental,

emotional, or psychiatric illness on November 10, 2013? If not, explain why not.



14. Did you take Travis Michael Montgomery’s suicidal ideation and homicidal ideation towards

his parents seriously? If yes, what actions did you take to protect Travis Michael Montgomery and


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the Plaintiff and the Plaintiff’s decedent on November 10, 2013?



15. Did you believe that Travis Michael Montgomery was suffering from impaired and poor

judgment on November 10, 2013?



16. State each and every reason why you did not have Travis Michael Montgomery transferred

and/or admitted to Decatur General Hospital - West on November 10, 2013.



17. Did you believe that Travis Michael Montgomery was legally and/or mentally competent to

make an informed decision about whether he needed or required psychiatric inpatient hospitalization

on November 10, 2013? If yes, state each and every reason why.



18. Please state in detail each and every reason why you allowed or permitted Travis Michael

Montgomery to leave the Walker Baptist Medical Center Emergency Department against medical

advice (AMA) on November 10, 2013.



19. Were any Incident Reports and similar reports made with regard to the occurrence made the

basis of this suit?



20. State the name of your professional medical liability insurance carrier on November 10, 2013.




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21. State the name and medical specialty of each and every medical expert you intend to call at the

trial of this cause.

        a.      State the subject matter on which each expert is expected to testify.

        b.      State the substance of the facts and opinions to which each expert is expected to

                testify and a summary of the grounds for each such opinion.

        c.      State any and all qualifications of each and every expert, including their educational

                background, training, experience, and specialty certifications.



22. List all exhibits that you intend to offer at the trial of this case.



23. For each and every request for admissions that you deny, please state specifically in detail each

and every reason for denying said request for admissions.



24. Describe chronologically and in detail, the course of treatment for Travis Michael Montgomery

from the time you first undertook to care for Travis Michael Montgomery until your professional

relationship with him ended.



25. State the name, current address and occupation of any and all witnesses or other individuals

having any information concerning your care and treatment of Travis Michael Montgomery on

November 10, 2103.



26. State specifically and in detail each and every physical, mental, or psychiatric examination


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which you performed on Travis Michael Montgomery on November 10, 2013 and the results and/or

findings of each and every examination.



27. State specifically and in detail the substance of all advice, instructions, or warnings that you
and/or any other individual in the presence of you gave to Travis Michael Montgomery, the Plaintiff,
or the Plaintiff’s decedent relative to the care of Travis Michael Montgomery on November 10, 2013.



                                              /s/ S. Shay Samples
                                              STEPHEN SHAY SAMPLES (SAM004)
                                              ASHLEY REITZ PEINHARDT (REI043)
                                              Attorneys for Plaintiffs

OF COUNSEL:
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                                              /s/ Michael D. Petway
                                              Michael D. Petway (PET036)
                                              Attorney for Plaintiffs

OF COUNSEL:
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Phone: 205-977-9798
Email: mpetway@fpflaw.com



 THE FOREGOING INTERROGATORIES TO BE SERVED ON DEFENDANT WITH
                    SUMMONS & COMPLAINT.



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                                                                                 CIRCUIT COURT OF
                                                                              WALKER COUNTY, ALABAMA
                                                                                SUSAN ODOM, CLERK
                IN THE CIRCUIT COURT OF WALKER COUNTY, ALABAMA

SAMUEL WADE MONTGOMERY, As Personal                  )
Representative and Administrator of the Estate of    )
SARAH RENAE MONTGOMERY, deceased;                    )
SAMUEL WADE MONTGOMERY, Individually,                )
                                                     )
        Plaintiffs,                                  )
                                                     )
vs.                                                  )       CIVIL ACTION NO:
                                                     )       __________________
BAPTIST HEALTH SYSTEM, INC. d/b/a                    )
Walker Baptist Medical Center;                       )
KENT ALAN TAUB, M.D.;                                )
GREG SMITH, CRNP, et al.,                            )
                                                     )
        Defendants.                                  )

                                  NOTICE OF DEPOSITION

        Please take notice that at the time, date and location listed below, the Plaintiff, SAMUEL
WADE MONTGOMERY, will, by oral examination, take the testimony of the deponent whose name
and address is listed below, for the purpose of discovery and/or for use as evidence in the action
before the court reporter whose name is listed above or before some other duly qualified officer, in
accordance with Rule 30 of the Alabama Rules of Civil Procedure. The oral examination will
continue until completed.

DEPONENT'S NAME:                      Kent Alan Taub, M.D.
                                      Greg Smith, CRNP

DATE:                                 To Be Determined

TIME:                                 To Be Determined

LOCATION:                             To Be Determined

COURT REPORTER:                       To Be Determined


                                              /s/ S. Shay Samples
                                              STEPHEN SHAY SAMPLES (SAM004)
                                              ASHLEY REITZ PEINHARDT (REI043)
                                              Attorneys for Plaintiffs


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                                DOCUMENT 6
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Email: shay@hwnn.com
Email: ashley@hwnn.com


                                   /s/ Michael D. Petway
                                   Michael D. Petway (PET036)
                                   Attorney for Plaintiffs

OF COUNSEL:
FUSTON, PETWAY & FRENCH
600 Luckie Drive, Suite 300
Birmingham, AL 35223
Phone: 205-977-9798
Email: mpetway@fpflaw.com




          THIS NOTICE OF DEPOSITION TO BE SERVED WITH THE
                       SUMMONS & COMPLAINT




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                                                                          CIRCUIT COURT OF
                                                                       WALKER COUNTY, ALABAMA
                                                                         SUSAN ODOM, CLERK
                IN THE CIRCUIT COURT OF WALKER COUNTY, ALABAMA

SAMUEL WADE MONTGOMERY, As Personal                 )
Representative and Administrator of the Estate of   )
SARAH RENAE MONTGOMERY, deceased;                   )
SAMUEL WADE MONTGOMERY, Individually,               )
                                                    )
        Plaintiffs,                                 )
                                                    )
vs.                                                 )   CIVIL ACTION NO:
                                                    )   __________________
BAPTIST HEALTH SYSTEM, INC. d/b/a                   )
Walker Baptist Medical Center;                      )
KENT ALAN TAUB, M.D.;                               )
GREG SMITH, CRNP, et al.,                           )
                                                    )
        Defendants.                                 )

      PLAINTIFF’S REQUEST FOR ADMISSIONS OF DEFENDANTS, BAPTIST
      HEALTH SYSTEM, INC., d/b/a/ WALKER BAPTIST MEDICAL CENTER;
                KENT ALAN TAUB, M.D.; GREG SMITH, CRNP

        Comes now the Plaintiff in the above-styled cause and pursuant to the Alabama Rules

of Civil Procedure, request the Defendants, BAPTIST HEALTH SYSTEM, INC. d/b/a

WALKER BAPTIST MEDICAL CENTER; KENT ALAN TAUB, M.D.; GREG

SMITH, CRNP, to admit or deny the following:

1. Admit or deny that the facts stated in paragraph 1 of Plaintiff’s Complaint are true and

accurate.

2. Admit or deny that the facts stated in paragraph 2 of Plaintiff’s Complaint are true and

accurate.

3. Admit or deny that the facts stated in paragraph 3 of Plaintiff’s Complaint are true and

accurate.


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                                        DOCUMENT 5
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4. Admit or deny that the facts stated in paragraph 4 of Plaintiff’s Complaint are true and

accurate.

5. Admit or deny that the facts stated in paragraph 5 of Plaintiff’s Complaint are true and

accurate.

6. Admit or deny that the facts stated in paragraph 6 of Plaintiff’s Complaint are true and

accurate.

7. Admit or deny that the facts stated in paragraph 7 of Plaintiff’s Complaint are true and

accurate.

8. Admit or deny that the facts stated in paragraph 8 of Plaintiff’s Complaint are true and

accurate.

9. Admit or deny that the facts stated in paragraph 9 of Plaintiff’s Complaint are true and

accurate.

10. Admit or deny that the facts stated in paragraph 10 of Plaintiff’s Complaint are true and

accurate.

11. Admit or deny that the facts stated in paragraph 11 of Plaintiff’s Complaint are true and

accurate.

12. Admit or deny that the facts stated in paragraph 12 of Plaintiff’s Complaint are true and

accurate.

13. Admit or deny that the facts stated in paragraph 13 of Plaintiff’s Complaint are true and

accurate.



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14. Admit or deny that the facts stated in paragraph 14 of Plaintiff’s Complaint are true and

accurate.

15. Admit or deny that the facts stated in paragraph 15 of Plaintiff’s Complaint are true and

accurate.

16. Admit or deny that the facts stated in paragraph 16 of Plaintiff’s Complaint are true and

accurate.

17. Admit or deny that the facts stated in paragraph 17 of Plaintiff’s Complaint are true and

accurate.

18. Admit or deny that the facts stated in paragraph 18 of Plaintiff’s Complaint are true and

accurate.

19. Admit or deny that the facts stated in paragraph 19 of Plaintiff’s Complaint are true and

accurate.

20. Admit or deny that the facts stated in paragraph 20 of Plaintiff’s Complaint are true and

accurate.

21. Admit or deny that the facts stated in paragraph 21 of Plaintiff’s Complaint are true and

accurate.

22. Admit or deny that the facts stated in paragraph 22 of Plaintiff’s Complaint are true and

accurate.

23. Admit or deny that the facts stated in paragraph 23 of Plaintiff’s Complaint are true and

accurate.



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24. Admit or deny that the facts stated in paragraph 24 of Plaintiff’s Complaint are true and

accurate.

25. Admit or deny that the facts stated in paragraph 25 of Plaintiff’s Complaint are true and

accurate.

26. Admit or deny that the facts stated in paragraph 26 of Plaintiff’s Complaint are true and

accurate.

27. Admit or deny that the facts stated in paragraph 27 of Plaintiff’s Complaint are true and

accurate.

28, Admit or deny that the facts stated in paragraph 28 of Plaintiff’s Complaint are true and

accurate.

29. Admit or deny that the facts stated in paragraph 29 of Plaintiff’s Complaint are true and

accurate.

30. Admit or deny that the facts stated in paragraph 30 of Plaintiff’s Complaint are true and

accurate.

31. Admit or deny that the facts stated in paragraph 31 of Plaintiff’s Complaint are true and

accurate.

32. Admit or deny that the facts stated in paragraph 32 of Plaintiff’s Complaint are true and

accurate.

33. Admit or deny that the facts stated in paragraph 33 of Plaintiff’s Complaint are true and

accurate.



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34. Admit or deny that the facts stated in paragraph 34 of Plaintiff’s Complaint are true and

accurate.

35. Admit or deny that the facts stated in paragraph 35 of Plaintiff’s Complaint are true and

accurate.

36. Admit or deny that the facts stated in paragraph 36 of Plaintiff’s Complaint are true and

accurate.

37. Admit or deny that Travis Michael Montgomery posed a substantial risk of harm and

danger to the Plaintiff and the Plaintiff’s decedent on November 10, 2013.

38. Admit or deny that Travis Michael Montgomery was making overt threats of suicide on

November 10, 2013.

39. Admit or deny that Travis Michael Montgomery was making overt threats of committing

homicide of his parents, Samuel Wade Montgomery and Sarah Renae Montgomery on

November 10, 2013.

40. Admit or deny that it was foreseeable that Travis Michael Montgomery might harm his

parents, Samuel Wade Montgomery and Sarah Renae Montgomery if he was discharged from

the Emergency Department on November 10, 2013.

41. Admit or deny that Travis Michael Montgomery’s suicidal ideations and homicidal

ideations on towards his parents was real on November 10, 2013.

42. Admit or deny that Travis Michael Montgomery appeared to be serious about his suicidal

ideations and homicidal ideations towards his parents.



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43. Admit or deny that the standard of care required and obligated the Defendants, separately

and severally, to take Travis Michael Montgomery’s suicidal ideations and homicidal

ideations seriously.

44. Admit or deny that the standard of care required and obligated the defendants, separately

and severally, to warn the Plaintiff and the Plaintiff’s decedent of the seriousness of Travis

Michael Montgomery’s homicidal ideation toward them.

45. Admit or deny that the standard of care required and obligated the Defendants, separately

and severally, to take reasonable steps and precautions to protect the Plaintiff and the

Plaintiff’s decedent from Travis Michael Montgomery’s homicidal ideations towards them.

46. Admit or deny that Travis Michael Montgomery’s verbalized, specific, overt threats of

homicidal actions toward the Plaintiff and the Plaintiff’s decedent made the possibility of

serious harm or injury to the Plaintiff and the Plaintiff’s decedent foreseeable.

47. Admit or deny that the Defendants, separately and severally, had actual notice and

knowledge of the fact that discharging Travis Michael Montgomery into the custody of his

parents directly resulted in the possibility of serious harm and injury being inflicted upon the

Plaintiff and the Plaintiff’s decedent by Travis Michael Montgomery.

48. Admit or deny that the Defendants, separately and severally, had actual notice and

knowledge that discharging Travis Michael Montgomery without a psychiatric evaluation

and/or treatment directly resulted in the possibility of harm being inflicted upon the Plaintiff

and the Plaintiff’s decedent by Travis Michael Montgomery.



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49. Admit or deny that the Defendants, separately and severally, were concerned about the

possibility of serious harm being inflicted upon the Plaintiff and the Plaintiff’s decedent by

Travis Michael Montgomery at the time he left the Walker Baptist Medical Center

Emergency Department.

50. Admit or deny that the Defendants, separately and severally, were aware, at the time of

Travis Michael Montgomery’s departure from the Walker Baptist Medical Center Emergency

Department that there was the possibility that Travis Michael Montgomery would inflict

serious harm or injury to the Plaintiff and Plaintiff’s decedent.

51. Admit or deny that it was dangerous to allow Travis Michael Montgomery to leave the

Walker Baptist Medical Center’s Emergency Department against medical advice (AMA).

52. Admit or deny that the Defendants, separately and severally, had actual notice and

knowledge that allowing Travis Michael Montgomery to leave the Emergency Department

at Walker Baptist Medical Center against medical advice (AMA) directly posed a high risk

of harm to Travis Michael Montgomery, as well as the Plaintiff and the Plaintiff’s decedent.

53. Admit or deny that a psychiatric evaluation and/or consultation was available for Travis

Michael Montgomery in the Walker Baptist Medical Center Emergency Department.

54. Admit or deny that Travis Michael Montgomery could have been admitted to the

inpatient psychiatric unit at Walker Baptist Medical Center.

55. Admit or deny that the Plaintiff and the Plaintiff’s decedent, as parents of Travis Michael

Montgomery, a minor, had the absolute legal right to have Travis Michael Montgomery



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admitted as an inpatient to a hospital for all indicated and necessary treatment.

56. Admit or deny that it was not legally necessary to have Travis Michael Montgomery’s

consent in order to have him admitted to a facility as an inpatient.

57. Admit or deny that the Plaintiff and the Plaintiff’s decedent were at high risk for harm

by virtue of Travis Michael Montgomery’s expressions of overt homicidal ideation directed

toward them specifically.

58. Admit or deny that Travis Michael Montgomery’s homicidal threats directed toward the

Plaintiff and the Plaintiff’s decedent posed a clear and present danger to the Plaintiff and the

Plaintiff’s decedent.

59. Admit or deny that the Defendants, separately and severally, had the legal duty to inform

the Plaintiff and the Plaintiff’s decedent of the availability of a psychiatric inpatient bed at

Decatur General Hospital West for Travis Michael Montgomery.

60. Admit or deny that the Defendants, separately and severally, could have instructed the

Plaintiff and the Plaintiff’s decedent to transport Travis Michael Montgomery to the Decatur

General Hospital West for inpatient psychiatric evaluation and treatment.




                                            /s/ S. Shay Samples
                                            STEPHEN SHAY SAMPLES (SAM004)
                                            ASHLEY REITZ PEINHARDT (REI043)
                                            Attorneys for Plaintiffs



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                                DOCUMENT 5
      Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 39 of 93




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Email: ashley@hwnn.com


                                   /s/ Michael D. Petway
                                   Michael D. Petway (PET036)
                                   Attorney for Plaintiffs

OF COUNSEL:
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Phone: 205-977-9798
Email: mpetway@fpflaw.com




     THE ABOVE REQUEST FOR ADMISSIONS TO BE SERVED WITH
                   SUMMONS & COMPLAINT




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                                                                                  CIRCUIT COURT OF
                                                                               WALKER COUNTY, ALABAMA
                                                                                 SUSAN ODOM, CLERK
                IN THE CIRCUIT COURT OF WALKER COUNTY, ALABAMA

SAMUEL WADE MONTGOMERY, As Personal                    )
Representative and Administrator of the Estate of      )
SARAH RENAE MONTGOMERY, deceased;                      )
SAMUEL WADE MONTGOMERY, Individually,                 )
                                                       )
       Plaintiffs,                                     )
                                                       )
vs.                                                    )      CIVIL ACTION NO:
                                                       )      __________________
BAPTIST HEALTH SYSTEM, INC. d/b/a                      )
Walker Baptist Medical Center;                         )
KENT ALAN TAUB, M.D.;                                  )
GREG SMITH, CRNP, et al.,                              )
                                                       )
       Defendants.                                     )

       PLAINTIFF’S REQUEST FOR PRODUCTION OF DOCUMENTS TO THE
      DEFENDANTS, BAPTIST HEALTH SYSTEM, INC., d/b/a WALKER BAPTIST
       MEDICAL CENTER; KENT ALAN TAUB, M.D.; and GREG SMITH, CRNP

       Comes now the Plaintiff in the above-styled cause and pursuant to the Alabama Rules of Civil

Procedure, request the Defendants, separately and severally: BAPTIST HEALTH SYSTEM, INC.,

d/b/a WALKER BAPTIST MEDICAL CENTER; KENT ALAN TAUB, M.D.; and GREG

SMITH, CRNP, to produce legible copies of the following documents:

       1. A certified copy of any and all medical records (however designated) pertaining to Travis

Michael Montgomery’s Emergency Room visit on November 10, 2013.

       2. Copy of the Table of Contents for each Defendant’s Policies and Procedures (however

designated).

       3. Copies of all policies, procedures, protocols, directives, guidelines (however designated)

which have application, directly or indirectly, to the diagnosis, care and treatment of Travis Michael

Montgomery.

       4. Copies of any and all policies, procedures, directives, rules and regulations dealing with,

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directly or indirectly, paragraph 33 (a-j) of Plaintiff’s Complaint.

       5. Copies of all policies, procedures, protocols, directive, guidelines (however designated)

regarding mentally or emotionally unstable patients seen in the Emergency Department.

       6. Copies of all policies, procedures, protocols, directive, guidelines (however designated)

pertaining to a patient making overt threats to harm self and/or others.

       7. Copies of any and all documents (however designated) pertaining to any communication

by and between the Defendants, Defendants’ employees and/or co-workers and The Children’s

Hospital pertaining to Travis Michael Montgomery.

       8. Copies of any and all documents (however designated) pertaining to any communication

by and between the Defendants, Defendants’ employees and/or co-workers and Brookwood Medical

Center pertaining to Travis Michael Montgomery.

       9. Copies of any and all documents (however designated) pertaining to any communication

by and between the Defendants, Defendants’ employees and/or co-workers and Hillcrest Hospital

pertaining to Travis Michael Montgomery.

       10. Copies of any and all documents (however designated) pertaining to any communication

by and between the Defendants, Defendants’ employees and/or co-workers and Decatur General

West pertaining to Travis Michael Montgomery.

       11. Copy of Kent Alan Taub, M.D.’s CV.

       12. Copy of Greg Smith, CRNP’s CV.

       13. A copy of all documents, exhibits, memoranda, notes, photographs, reports, or any other

document of any kind whatsoever which are to be offered at the trial of this cause.

       14. Copies of any and all policies, procedure, protocols, directives, guidelines (however

designated) pertaining to patients expressing suicidal and/or homicidal ideation in the Emergency

                                                  2
                                            DOCUMENT 4
        Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 43 of 93



Department.

       15. Copies of any and all policies, procedure, protocols, directives, guidelines (however

designated) relative to the psychiatric evaluation of patients seen in the Emergency Department.

       16. Copies of any and all policies, procedure, protocols, directives, guidelines (however

designated) pertaining to patients leaving the Emergency Department against medical advice (AMA).

       17. Copies of any and all policies, procedure, protocols, directives, guidelines (however

designated) pertaining to §22-52-91 Alabama Code.

       18. Copies of any and all policies, procedure, protocols, directives, guidelines (however

designated) pertaining to the interaction by and between the Emergency Department and the inpatient

psychiatric unit and services at Walker Baptist Medical Center.

       19.    Any and all documents pertaining to psychiatric consultation of patients in the

Emergency Department.

       20. Any and all documents pertaining to communications with law enforcement officials

relative to patients in the Emergency Department.

       21. Any and all documents pertaining to precautions to prevent harm or injury to patients

seen in the Emergency Department, as well as to third parties by patients seen in the Emergency

Department.

       22. Any and all documents, of any kind and nature whatsoever, pertaining to referrals and

transfers to mental health facilities by the Walker Baptist Medical Center’s Emergency Department.

       23. Any and all documents, of any kind and nature whatsoever, pertaining to the admittance

of Emergency Department patients to Walker Baptist Medical Center’s inpatient psychiatric unit.

       24. Any and all documents, of any kind and nature whatsoever, pertaining to the documents

referred to in paragraph 33 (a -j) of Plaintiff’s Complaint.

                                                  3
                                          DOCUMENT 4
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       25. Any and all documents, of any kind and nature whatsoever, evidencing the legal

relationship between Kent Alan Taub, M.D. and Walker Baptist Medical Center.

       26. Any and all documents, of any kind and nature whatsoever, evidencing the legal

relationship between Greg Smith, CRNP and Walker Baptist Medical Center.

       27. Any and all documents, of any kind and nature whatsoever, pertaining to 72 hour

emergency holding of patients who are evidencing overt threats of harm to self or others.




                                             /s/ S. Shay Samples
                                             STEPHEN SHAY SAMPLES (SAM004)
                                             ASHLEY REITZ PEINHARDT (REI043)
                                             Attorneys for Plaintiffs

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                                             /s/ Michael D. Petway
                                             Michael D. Petway (PET036)
                                             Attorney for Plaintiffs

OF COUNSEL:
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          THE FORGOING REQUESTS FOR PRODUCTION OF DOCUMENTS
              ARE SERVED WITH THE SUMMONS AND COMPLAINT



                                                4
                           DOCUMENT 22
                                                         ELECTRONICALLY FILED
Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 45 5/8/2015
                                                            of 93 2:32 PM
                                                          64-CV-2015-900088.00
                                                          CIRCUIT COURT OF
                                                       WALKER COUNTY, ALABAMA
                                                         SUSAN ODOM, CLERK
                          DOCUMENT 22
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                          DOCUMENT 22
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                          DOCUMENT 22
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                          DOCUMENT 22
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                           DOCUMENT 20
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                                                          CIRCUIT COURT OF
                                                       WALKER COUNTY, ALABAMA
                                                         SUSAN ODOM, CLERK
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                          DOCUMENT 20
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                          DOCUMENT 20
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             IN THE CIRCUIT    COURT   OF WALKER COUNTY, ALABAMA

SAMUEL WADE MONTGOMERY, AS
PERSONAL REPRESENTATIVE AND
ADMINISTRATOR OF THE ESTATE OF
SARAH RENAE MONTGOMERY,
DECEASED, SAMUEL WADE
MONTOGMERY, INDIVIDUALLY,                 CIVIL ACTION NO.
                                           cv-2015-900088
      Plaintiff,
vs.
BAPTIST HEALTH SYSTEM, INC.
D/B/A WALKER BAPTIST MEDICAL
CENTER, et dl,

      Defendant.


                   DEFENDANy S rNrTrAr RESPOSE (OBJECTTONS)
                    TO PI,AINTIFF' S FIRST INTERROGATORIES

       comes the Defendant, Baptist Health system, Inc. d/b/a

Walker Baptist Medical Center, and objects to the following of
plaintiff,   s first.   interrogatories   to this defendant:
     4.    Pl-ease state in detail each and every reasons why you
did not attempt to utilize 522-52-91 Alabama Code relative to
having Travi-s Michael Montgomery admitted to an approprrate
mental healthcare facility   on November 10, 2013.
RESPONSE:    Defendant objects to this interrogatory         as it seeks   a

legal conclusion and is therefore not the proper subject of
discovery.
      20. State the name of your professional- medical- liability
insurance carrier on November 10, 2013.
     Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 63 of 93




RESPONSE:   Defendant objects to this interrogatory as it seeks

information not discoverable pursuant to the following:
     a.     Section 6-5-551 of the Code of Alabama
     b.     Section 6-5-548 of the Code of Alabana
     23. For each and every request for admissions that you
deny, please state specifically in detail each and every reason
for denying said request for admission.
RESPONSE: Defendant objects to this interrogatory for that as

worded, it is sufficiently    broad that it seeks or may seek
information privileged and not discoverable Pursuant to one or
more of the following:
     a.     The AttorneY-Client Privilege

     b.     The Attorney gfork-Product Rule
     c.     Section 6-5-551 of the Code of     Alabama


                                  PARSONS, LEE    & JULIANO, P.C.




                                  600 Vestavia ParkwaY,     Suite   300
                                  Post Office Box 66L228 (35266)
                                  Birmingham, Alabama 35216
                                  (205) 326-6600
     Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 64 of 93




                          CERTIFICATE OF SERVICE

      I hereby certify that I have on this 14th day of M.y,
20L5, served a copy of the foregoing pleading on counsel for all
parties to this proceeding by placing the same in the United
St.ates Mail properly addressed and first class postage prepaid
to:
Mr. Stephen Shay Samples
Ms. Ashley Reitz Pe j-nhardt
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Birmingham, AL 35203-3331
Mr. Michael D.   Petway
Fuston, Petway & French, LLP
The Luckie Building
600 Luckie Drive, Suite 300
Birmingham, AL 35223
Mr. Martin Trpis
Chief Legal Councj-l-
Pegasus Emergency Management
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Bozeman, MT 59715

Kent Alan Taub, M.D.
3004 Glen Willow Court SE
Owens Cross Roads, AL 35763

Greg Smj-th, CRNP
530 Ridgefield Way
Odenvil-l-e, AL 35L20
       Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 65 of 93




                  IN THE CIRCUIT        COURT   OF WALKER   COUNTY, ALABAMA

SAMUEL WADE MONTGOMERY, AS                       I

PERSONAL REPRESENTATIVE AND                      I

ADMINISTRATOR OF THE ESTATE OF                   )
SARAH RENAE MONTGOMERY,                          )
DECEASED, SAMUEL WADE                            )
MONTGOMERY, INDIVIDUALLY,                        )   CIVIL ACTION NO.
                                                 )   cv-2015-900088
       Dl:'inl-iffvLLLt                          )
                                                 )
VS.                                              )
                                                 )
BAPTIST HEALTH SYSTEM, INC.                      )
D/B/A VIALKER BAPTIST MEDICAL                    )
CENTER, et dl,                                   )
                                                 )
       n^f^-l--{-
       uE!EltuallL.




                      DEFENDAI{T'  S rNTrAr. RESPONE (OB.'ECTTONS) TO
                          PLAINTIFF' S FrRST REQI'EST FOR PRODUCTION

      Comes          the Defendant, Baptist Health System, Inc. d/b/a
Walker Baptist Medical Center, and objects to the following of
plaintiff's               first   request for production to this defendant:
      2.  Copy of the Table of Contents for each Defendant's
Policies and Procedures (however designated)
RESPONSE:         Defendant objects to this request for that it is
sufficiently               broad that it seeks information not discoverable
pursuant to 56-5-551 of the Code of Alabana. Without waiving
this objection defendant says it will                   produce policies   and

procedures relevant to the claims pled in this case.
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      3. Copies of atl policies, procedures, protocols,
directives, guidelines (however designated) which have
applj-catj-on, directly or indirectly, to the diagnosi-s, care          and
treatment to Travis Michael Montgomery.
RESPONSE:   Defendant will produce policies and procedures
relative to the claims pled in this case in effect at the time
of the events that are the subject of this case.
      4. Copi-es of any and a1l policies, procedures,
directives, rules and regulations dealing with, directly or
indlrectly, paragraph 33 (.- j ) of Pl-aintif f's Complaint.
RESPONSE:   Defendant will produce policies and procedures
relative to the claims pled in this case in effect at the time
of the events that are the subject of this case.
5. Copies of all policies, procedures, protocols, directive,
guidelines (however designated) regarding mentally or
emot.ionally unstable patients seen in the Emergency Department.
RESPONSE:   Defendant will produce policies and procedures
relative to the claims pled in this case in effect at the time
of the events that are the subject of this case.
     6 . Copies of al-l- policies, procedures, protocols,
directive, guidelines (however designated) pertaining to          a
patient making overt threats to harm self and/ or others.
RESPONSE:   Defendant will produce policies and procedures
relative to the claims pled in this case in effect at the time
of the events that are the subject of this case.
L4. Copies of any and all policies, procedure, protocols,
directives, guidelines (however designated) pert.aining to
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patients expressing suicidal and/or homicidal ideation in the
Emergency Department.

RESPONSE:    Defendant will produce policies and procedures
relative to the claims pled in this case in effect at the time
of the events that are the subject of this case.
     15. Copies of any and all policies, procedure, protocols,
directives, guidelines (however designated) relatj-ve to the
psychiatric evafuation of patients seen in the Emerqency
Department.
RESPONSE:    Defendant will produce policies and procedures
relative to the claims pled in this case in effect at the time
of the events that are the subject of this case.
     L6. Copies of any and all policies, procedure' protocols'
directives, guidelines (however designated) pertaining to
patients leaving the Emergency Department against medical- advice
(AMA)   .



RESPONSE:    Defendant will produce policies and procedures
relative to the claims pled in this case in effect at the time
of the events that are the subject of this case.
     L1. Copies of any and all policies, procedure, protocols,
directives, guidelines (however designated) pertaining to 522-
52-9L Alabama Code.
RESPONSE:    Defendant' wiJ.J. produce poJ.icies and procedures
relatiwe to the claims pled in this case in effect at the time
of the events that are the subject of this case.
      18. Copies of any and all policies, procedure, protocols,
directives, gui-delines (however designated) pertaining to the
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interaction by and between the Emergency Department and the
inpatient psychiatric unit and services at walker Baptist
Medical Center.
RESPONSE:   Defendant will produce policies and procedures
relative to ttre claims pled in this case in effect at the         tj.me

of the events that are the subject of this case.
     19. Any and all documents pertaining to psychiatric
consultation of patients in the Emergency Department.
RESPONSE: Defendant objects to this request for that as worded

it is sufficient broad that it seeks information privileged             and

not discoverable Pursuant to one or more of the following:
     a.     Section 6-5-551 of t'he Code of    Alabarna

     b.     HIPAA

     c.     It is sufficiently broad that it seeks patient
            sensitive and confidential information relative to
            patients other than Travis Michael      Montgomery

     20. Any and all- documents pertaining to communications
with law enforcement officials rel-ative to patients in the
Emergency Department.

RESPONSE:   Defendant objects to this request for that as worded
it is sufficient broad that it seeks information privileged             and

not discoveral''le Pursuant to one or more of the following:
     a.     Section 5-5-551 of the Code of     Alabama

     b.     HIPAA



                                     4
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     c.     It is suffieiently broad that it seeks patient
            sensitive and confidential information relative to
            patients other than Travis Michael Montgomery
     2I. Any and all documents pertaining to precautions to
prevent harm or injury to patients seen in the Emergency
Department, as well as to third parties by patients seen in the
Emergency Department.
RESPONSE:   Defendant objects to this request for that as worded
it is sufficient broad that it seeks information privileged             and

not discoverable pursuant to one or more of the following:
     a.     Section 6-5-551 of the Code of     Alabarna

     b.     HIPAA

     c.     It is sufficiently broad that it seeks patient
            sensitive and confidential information relative to
            patients other than Travis Michael Montgomery
     22. Any and all documents, of any kind and nature
whatsoever, pertaining to referral-s and transfers to mental
health facil-ities by the Wal-ker Baptist Medical- Center/ s
Emergency Department.

RESPoNSE:   Defendant objects to this request for that as worded
it is sufficient broad that it seeks information privileged             and
not discoverat'le pursuant to one or more of the forlowing:
     a.     Section 6-5-551 of the Code of     Alabama

    b.      HIPAA
     Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 70 of 93




     c.     It is sufficiently broad that it seeks patient
            sensitive and confidential information relative to
            patients other than Travis Michael Montgomery
     23. Any and all documents, of any kind and nature
whatsoever, pertaining to the admittance of Emergency Department
patients to Wal-ker Baptist Medica1 Center's inpatient
psychiatric unit.
RESPONSE:   Defendant objects to this request for that as worded
it is sufficient broad that it seeks infor:mation privileged            and

not discoverable pursuant to one or more of the following:
     a.     Section 6-5-551 of the Code of     Alabama

     b.     HIPAA

     c.     It is sufficiently broad that it seeks patient
            sensitive and confidential information relative to
            patients other than Travis Michael Montgomery
     24. Any and all documents, of any kind and nature
whatsoever, pertaining to the documents referred to in paragraph
33 (a-k) of Plaintiff's   Compl-aint.
RESPONSE:   Defendant objects to this request for that it seeks
discovery not allowed pursuant to one or more of the following:
     a.     The Attorney-C1ient PriviJ.ege
     b.     The Attorney Work-Product Rule
     c.     Section 22-2L-8 of the Code of    Alabama

     d.     Section 34-24-58 of the Code of Alabana
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     e.   Section 34-24-59 of the Code of       Alabatna

     f.   Section 6-5-333 of the Code of       Alabama

     g.   Section 6-5-551 of the Code of       Alabarna

     Defendant will produce policies and proeedures relative to
the claims pled in this case in effect at the time of the events
that are the subject of this case. Further, plaintiff          has the
burden of proof.

                                  PARSONS, LEE    & JULIANO, P.C.




                                  600 Vestavia Parkway, Suite 300
                                  Post Office Box 661228 (35266)
                                  Birmingham, Alabama 352L5
                                  (205) 326-6600

                        CERTIFICATE OF SERVICE

      I hereby certify that I have on this 14th day of May,
2015, served a copy of the foregoing pleading on counsel for al-l
parties to this proceeding by placing the same in the United
States Mail properly addressed and first class postaqe prepaid

Mr. Stephen Shay SampJ-es
Ms. Ashley Reitz Peinhardt
Hare, Wynn, NeweII and Newton,     LLP
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     Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 72 of 93




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Chief Legal Council
Pegasus Emergency Management
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Kent Alan Taub, M.D.
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Owens Cross Roads, AL 35763

Greg Smith, CRNP
530 Ridqefield t0ay
Odenvil-l-e, AL 35120
              Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 73 of 93



                       IN THE CIRCUIT         COURT   r\r. WALKER COUNTY, ALABAMA

SAMUEL WADE MONTGOMERY, AS                              )

PERSONAL REPRESENTATIVE AND                             )

ADMINISTRATOR OF THE ESTATE OF                          )
SARAH RENAE MONTGOMERY,                                 )

DECEASED; SAMUEL WADE                                   )

MONTGOMERY, INDIVIDUALLY,                               )   CIVIL    ACTION NO.
                                                        )   cv-2015-900088
            r-Ld-LLrL-Lrrt                              )
                                                        )
VS.                                                     )
                                                        )

BAPTIST HEALTH SYSTEM, INC.                             )

D/B/A WALKER BAPTIST MEDICAL                            )
f-E
VUll \IrI'E
        f Ut\tP     al-       2l t
                              sL                        )
                                                        )
             Defendant.                                 )




     RESPONSE TO PI,AINTIFFI                  S       ST FOR ADMISSIONS OF DEFENDA}ITS
  BAPTTST HEALTH SYSTEM,                      rNC. D/BJA  r{rlLKER BAPTTST MEDICAI CENTER

          the defendant, Baptist Heal-th System, Inc. d/b/a
             Comes

Walker Baptist Medical- Center, and in response to plaintiff's
request f or admissions says as                        f ol-l-ows:

             1.           Admit or denv that the facts state in paragraph 1 of
Pl-aintif f 's Complaint are true and accurate                         -



             RESPONSE:               This case is in the very earJ-y stages of
discovery and defendant, does not have sufficient information at
this tirne to admit or deny this request, therefore defendant
denies            sarne.

             2.           Admit or deny that the facts stated in paragraph              2   of
Plaintiff's                   Complaint are true and accurate.
             RESPONSE:               This case is in the very early stages of
discovery and defendant does not have sufficient                              information at
[0200-003 l 2/96 | 085/ I ]
         Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 74 of 93



this time to admit or deny this request, therefore defendant
denies           same.

         3.           Admit or deny that the facts stated in paragraph 3 of
Plaintif f's Compl-aint are true and accurate.
        RESPONSE:           As worded, denied.
         4.           Admit or deny that the facts stated in paragraph 4 of
Pf   aintif f's Complai-nt are true and accurate.
        RESPONSE:           This defendant admits that Kent AJ-an Taub, M.D.
r,ras   an adult who was engaged in the practice of ernergency
medicine on the date of the occurrence made the basis of this
suit.            Defendant denies Kent Alan Tar:Io, M.D. was acting for and
on beha].f of this defendant and that this defendant is
wicariously J.ialr1e for his acts and omissions.
         5.           Admit or deny that the fact.s stated in paragraph 5 of
Pl-aintif         f   's Compl-alnt are true and accurate.
        RESPONSE:           This defendant admits that Greg' Snith,   CRNP, vtas

an aduJ-t who was acting as a nurse practitioner                on the date of
the occurrence made the basis of this suit.                  Defendant denies
Greg Smith,              CRNP   was acting for and on beha1f of this defendant
and that this defendant is wicariously J-iabJ-e for his acts and
omr_ssl_ons.

         6   -        Admit or deny that the facts stated in paragraph 6 of
Plaintiff's             Comcl-ai-nt are true and accurate.

[0200-00312/961085/r]
                                               )
         Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 75 of 93




      RESPONSE:        Ptaintiff   's courplaint does not contain   a

paragraptr 6, therefore this reguest is denied'
      1.        Admit or denv that the facts stated in paragraph 'l of
Pl-aintif f's Complaj-nt are true and accurate.
      RESPONSE:        As worded, denied.
         B.     Admit or deny that the facts stated in paragraph B of
Pl-aintif f's Compl-aint are true and accurate.
      RESPONSE:        Based on the information available to the
defendant at this time, admitted-
         g.     Admit or denv that the facts stated in paragraph 9 of
Plaintiff's       Complaint are true and accurate.
         RESPONSE:     As worded, denied.
         10. Admit or denv that the facts stated in paragraph 10 of
Plaintiff's       Complaint are true and accurate     -



         RESPONSE:     This case is in the very earJ.y stages of
discovery, therefore, based on the information available at this
time, defendant admits that in the medical records regarding
Trawis Michael Montgomery under History of Present Illness,                 the

Chief Complaint is listed            as Alcohol Intoxication   and under

Clinical. Impression the Psyehiatric Evaluation and Diagnoses are
listed        as Suicidal- Ideation, Homicidal Ideation and Alcotrol
Intoxication       -



[0200-00312/961085/l]
                                           ?
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          11. Admit or deny that the facts stated in paragraph 11 of
Plaintiff's                         Complaint are true and accurate    '

          RESPONSE:                    This case is in the very early stag'es of
discowery, therefore, based on tl.e information awailable at this
tine, defendant admits that it was documented in the medical
records regarding Trawis Mictrael Montgonery that (1) the patient
presented to ED for psych evaluation due to alcohol
intoxieation,                          (2) the mother stated he was picked uP by police
wfuile walking and                        ETOH   was 4X lega1 limit;       and, (3) the patient

toJ-d t'he poJ-ice he wanted to kiJ.I himself'
           Defendant is without sufficient                      information to adnit or

deny that the police recolnmended obtainingr an emergency
psychiatric                          evaluation, therefore denied- Defendant reserves
the right to supplement this resPonse if necessary as discowery
proceeds.
            :-.2. Admit or deny that the facts stated i-n paragraph 12 of
Pl-aintif f 's Complaint are true and accurate                             '

           RESpONSE:                    As worded, and based on ttre information available
at this time, denied.
            13. Admit or deny that the facts stated ln paragraph 13 of
Plaintif f's Compl-aint are true and accurate'


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            Case 6:15-cv-00881-TMP Document 1-1 Filed 05/28/15 Page 77 of 93




            RESPONSE:                   As worded, and based on the information available
at this tj-me, defendant' denies t'he Tila1ker Baptist Medical Center
record confirms that Travis was suffering' from a serious and
severe mental health problem, "at said tirne and plaee"                          -




Further, based on tl.e information awailable at this tirne,
defendant admits it was documented in the medical records (1)
\\The primary slmptons include bizarre behavior. " (2) "The

                                                      - Onset: today-" and (3)       \\The
current episode started tod
bizarre behavior appears t,o trave been unchanged since its onset.
Tlpes: intoxicated.                           The onset of the illness   is precipitated     by

a].cohol               a.buse.         "
             74. Admit or denv that the facts stated in paragraph L4 of
Plaintif f's Compl-aint are true and accurate                       -



RESPONSE:                       Based on the information avai].abte at this time, this

defendant admits those statenents were documented in the medical
record, however to the extent this requests a doctor's
diagnosis, defendant is unable to admit or deny at this time and
therefore denies.                           Defendant reserves the right   to supplement
this response if necessary as discovery proceeds.
            15. Admj-t or deny that the facts stated in paragraph 15 of
Plalntiff's                          Complaint are true and accurate.


10200-003   |2   /9 6 | 08s t   1l
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     RESPONSE:     Based on the information available at this time,

this defendant admits those statements are docurnented in the
medica]- record.
      :-6. Admi-t or deny that the facts stated in paragraph L6 of
Pl-ai-ntif f's Complaint are true and accurate    '

      RESPONSE:    As worded, denied.     Ilowever, based on the

information available at this time, defendant admits record
entries generated by Defen nts, Kent Alan Taub, M.D. and              Greg'

Smith, CRNP, docunent '\His speech is slurred-           He is slowed" and

the patient "voiced both suicidal ideations and homicidal
ideations".
      71. Admit or deny that the facts stated in paragraph I1 of
Plaintiff's    Complaint are true and accurate'
      RESPONSE:    As worded, denied.     However, based on the

information availa$le at this time, defendant admits the
psychiatric    evaluation documented by Defendants, Kent AIan Taub,
M.D. and Greg smith, QRNP, records (1) Travis Montgomery              was

solem11   with very J-imiLed response to interview questions.           There

vras no eye contact-     Therefore there was lirnited interaction           and

inability     to ful1y assess his psychological state;        (2) Travis

Montgomery was withdrawn from interaction,'           and they also

document Travis Montgomery "voiced both suicidal            ideations and
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                                      6
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homicidal ideations (towards his parents) t'his evening after
being arrested.       Parents are uncomfortable having him at            home

without psychiatric       eval-uation- "
        18. Admit or deny that the facts stated in paragraph 18 of
Pl-aintif f's Compl-aint are true and accurate '
        RESPONSE:   As worded, denied.           This case is in the very

early stagres of discoverfr, therefore, based on the information
avail  Ie at this time, defendant admits that the medical
records regarding Travis Michael Montg'omery docunent (1) picked
up from jail      by parents,' (2',)   ETOH     was 4X legal limit,'   and, (3)

patient stated to Police officer            he wanted to die,' and (4)
patient stated he thought of choking his parents with a cord the
ent'ire way to the hosPital-
        19. Admj-t or deny that the facts stated in paragraph 1'9 of
Plaintif   f   's Comp]aint are true and accurate '
        RESPONSE:    As worded, denied.          Further, the record speaks
for itse]-f.
        20. Admit or denv that the facts stated in paragraph 20 of
Pl-aintif f's Complaint are true and accurate             -



        RESPONSE: Based    on the information availalcle at this time,
as worded this request is denied.                Defendant admits the

following is documented in the medical "parents insist                  on

[0200-00312/961085/l]                      ./
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placenent,, and \\Renee the pts mother States Ok tO Send tO any
facility             that will      admit him-"
            27. Admit or deny that the facts stated in paragraph 2I of
Plaintif f's Compl-aint are true and accurate '
           RESPONSE:            Based on the information awailalcle at this time,

defendant admits this is docnnented in the rnedical record.
Further, the record speaks for itself'
           22. Admit or deny that the facts stated in paragraph 22 of
Pl-aintif f's Complaint are true and accurate '
           RESPONSE:            Based on the information available at this time,

defendant, admitted.
            23. Admit or deny that the facts stated in paragraph 23 of
Pl-aintiff's                 Compl-aint are true and accurate-
           RESPONSE:            As worded, this reguest is denied.   Defendant
                                                                           \\Renee
admits the following is documented in the medical record
the pts mother states ok t'o send t'o any faeiJ.ity that will                admit

him."            Further, defendant objects as it calIs for a legal
conclusion.
            24. Admit or denv that the facts stated in paragraph 24 of
Pl-aintiff's                 Compl-aint are true and accurate-
            RESPONSE:           Based on the information availalcle at this time,

as worded, this request is denied-
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           25   - Admit or deny that the facts stated in paragraph 25 of
Plaintiff's                  Complaint are true and accurate '
           RESPONSE:            Based on the info:mation availatrle at this time,

as worded, this request is denied.                    Further, defendant objects
as it cal-J-s for a J.egal. concJ.usion'
            26. Admit or deny that the facts stated in paragraph 26 of
Pl-aintif f's Complaint are true and accurate                '

           RESPONSE:            Based on the infomation    awailable at this time,
as worded, this request is denied.                    Further, defendant objects

as it cal.ls for a legal- concJ-usion-
            21. Admit or deny that the facts stated in paragraph 21 of
Pl-aintiff's                 Compl-aint are true and accurate'
            RESPONSE:            Defendant objects as this reguest caIls for   a

lega1 conclusion.                    Further, this case is in the very early
stages of discovery and defendant does not hawe sufficient
information at this time to admit or deny this request,
therefore defendant denies                   same-

            28. Admit or denv that the facts stated in paragraph 28 of
Pl-aintif f's Compl-aint are true and accurate                   -




            RESPONSE:            As worded, this request is denied-
            29. Admit or deny that the facts stated in paragraph 29 of
Plaintiff's                  Compfaint are true and accurate.



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                  As worded, this request is denied'        Further'
      RESPONSE:

defendantolrjectsaSthisreguestca]-].sforaJ.egal-conclusion.
                                                            30 of
     30. Admit or deny that the facts stated in paragraph
Plaintiff's   Complaint are true and accurate'
      RESPONSE:    Adnit'ted'
      31. Adnit or deny that the facts stated in paragraph 31 of
Plaintiff's   Complaint are true and accurate      '

     RESPoNSE:DefendantobjectsaSthisrequestcal].sfora
legal conclusion. Furttrer, this defendant is unable to adrnit or
deny this request, therefore it is denied'
       32. Admit or deny that the facts stated in paragraph 32 of
Plaintiff's   Complaint are true and accurate      '

       RESPONSE:   As worded this defendant is unable to admit or
d.eny this request therefore it      is denied'

       33. Admit or deny that the facts stated j-n paragraph 33 of
Pl-aintif f's Compl-aint are true and accurate         '

       RESPONSE: Denied-

      34. Admj-t or deny that "the facts stated in paragraph 34 of
Plaintiff's Complaint are true and accurate '
       RESPONSE:   As worded, this defendant is unable to admit or
deny this request therefore it is denied'
       35. Admit or deny that the facts stated in paragraph 35 of
Plaintiff's    Complaint are true and accurate'

[0200-003r2/e61085/l]
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          RESPONSE:           As worded, this defendant is unable to adrnit or
deny this request ttrerefore it               is denied'

          36. Admit or denV that the facts stated in paragraph 36 of
Plai-ntif f's Complaint are true and accurate               '

          RESPONSE:           As worded, this defendant is unable to ad[Iit or
deny this reguest, therefore it               is denied'
           31. Admit or deny that Travj-s Michael Montgomery posed                 a


substantial risk of harm and danger to the Plaintiff                     and the

Pl-aintiff's               decedent on November 10, 2073-
          RESPONSE:           As worded, this defendant is unable to admit or
deny this request therefore it is denied'
           38. Admit or deny that Travis Michael- Montgomery               was

making overt threats of suicide on November 10,                 201-3.

          RESPONSE: Based           on t,he information availalcle at this time,
this request is denied.                 Further, refer to the medical record.
           39. Admit or deny that Travis Mj-chael- Montgomery              was

making overt threats of committing homicide of his parents,
Samuel Wade Montgomery and Sarah Renae Montgomery on November

10, 2013.
           RESPONSE:          As worded, this defendant is unable to admit or
deny this reguest therefore it is denied-
           40. Admit or denv that it was foreseeabfe that Travis
Michae] Montgomery might harm his parents, Samuel Wade

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Montgomery and sarah Renae Montgomery if         he was discharged from

the Emergency Department on November 10' 2013'
     RESPONSE:    Denied.

     4I.  Admit or deny that Travis Michael- Montgomery's suicidal-
ideations and homicidal i-deations towards his parents was real
on November 10, 2013-
     RESPONSE:    As worded, this defendant is unable to admit or

deny this request therefore it is denied'
     42     Ad.mit or deny that Travis Michael- Montgomery appeared
to be serious about his suicidal- ideations and homicidal-
ideat j-ons towards hls Parents   '

     RESPONSE:Thiscaseisintheveryearlystagesof
discowery and defendant does not have sufficient         information at

this time to admit or deny this request, therefore defendant
denies   sElme.

     43     Admit or deny that the standard of care required and
obligated the Defendants, separately and severally,         to take

Travis Michael Montgomery's suicidal         ideations and homicidal

ideations seriouslY.
     RESPONSE:    As word.ed, this defendant cannot admit or deny
this request, therefore the     s€rme     is denied'
      44. Admit or deny that the standard of care required              and

obligated the defendants, separately and severally,         to warn the

[0200-003r2/96108s/l]
                                      n
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Plaintiff              and the Plaintiff's         decedent of the seriousness of

Travis Michael               MOntgomery's        homicidal ideation toward them'
          RESPONSE:          As worded, this defendant cannot admit or deny
this request, therefore the                       same    is denied'
     45.Amitordenythatthestandardofcarerequiredand
obligated the Defendants, separately and severally, to take
reasonable steps and precautions to protect the Plaintiff and
the plaintiff's               decedent from Travis MichaeL Montgomery's

homicidal ideations towards them'
    RESPONSE: As wordecl, this defendant cannot admit or deny

this request, therefore the                       s€rme   is denied'
     46. Admit or deny that Travis Michael- Montgomery's
verbal-j-zed, specific, overt threats of homicidal- actions toward
the plaintiff                and the Pl-aintiff's decedent made the possibility
of serious harm or injury to the Pl-aintiff and the Plaintiff's
decedent foreseeable-
           RESPONSE: Denied-

     41. Admit or deny that the Defendants, separately and
severally, had actual- notice and knowledge of the fact that
discharging Travis Michael Montgomely into the custody of
parents directly resul-ted in the possibility                          of serj-ous harm and
i nirrrrz
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          vsrrrY ncr !f r! rI i   r-l_   pcl nnon
                                             "-Y"' the Plaintif   f and the Pl-aintif f's

decedent by Travis Michael Montgomery-

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           RESPONSE:                    As worded, this defendant cannot admit or deny
this request, therefore the                           sEtme   is denied
     48. Admit or denv that the Defendants, separately and
severally, had actual notice and knowledge that discharging
Travis Michael Montgomery wj-thout a psychiatric eval-uation
and/or treatment directly resulted in the possibility of harm
being j-nfl-icted upon the Plaintiff                              and the Plaintiff's    decedent

by Travis Michael Montgomery.
               RESPONSE:                As worded, this defendant cannot admit or deny
this request, therefore the                           same    is denied-
     49. Admit or deny that the Defendants, separately and
severally, were concerned about the possibility of serious harm
being infl-icted upon the Plaintiff                               and the Plaintiff's    decedent

bV Travis MichaeJ- Montgomery at the time he l-eft the Wal-ker
Baptist Medi-caf Center Emergency Department-
               RESPONSE:                As worded, this defendant cannot admit or deny
this request, therefore the                            same   is denied-
               50. Admit or deny that the Defendants, separately                           and

severally, were aware, dt the time of Travis Michaef                                    Montgomery's

departure from the Wal-ker Baptist Medicaf Center Emergency
Department that there was the possibility                                 that Travis    Michae.l-

Montgomery would                          inflict   serious harm or injury to the Plaintiff
and       Pf        aintif f's decedent.

[0200 -003't   2   / 9 6 | 08 s   /|)

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                 RESPONSE:              As vrorded, this defendant cannot admit or deny
  this request, therefore the same is denied.
                  51. Admit or deny that it was dangerous to all-ow Travis
 Michael- Montgomery to l-eave the Walker Baptist Medical- Center's
 Emergency Department against medical advice (AMA).
                 RESPONSE:              This case is in the very early stag'es of
 discovery and defendant does not have sufficient                          information at
 this time to admit or deny this request, therefore defendant
 denies                seune.

                 52. Admit or deny that the Defendants, separately and
 severally,                         had actual notice and knowledge that allowj-ng Travis
 Michael- Montgomery to l-eave the Emergency Department at wal_ker
 Baptist Medical- Center against medical_ advi_ce (AMA) directl_y
 posed a high risk of harm to Travis Michael Montgom€ry, as wel-l-

 as the Pl-aintif f and the Plaintif f's decedent.
                RESPONSE:              As worded, this defendant cannot admit or deny
this request, therefore the same is denied.
                53. Admit or deny that a psychiatric                evafuation and/or
consuftation was avail-abl-e for Travi-s Michael- Montqomerv in the
Waf       ker Baptist Medical- Center Emcrrrcnr-rz Department.
               RESPONSE:               As worded, denied.




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             54   - Admit or deny that Travis Michael- Montgomery could
have been admitted to the lnpatient                      psychiatric    unit at Walker
Baptist Medical Center.
            RESPONSE:        Denied.
             55. Admit or denv that the Pl-ainti-ff and the Plalntif f's
decedent, ds parents of Travj-s Michael Montgomery, a minor, had
the absol-ute legal right to have Travis Michael Montgomery
admitted as an inpatient                 to a hospital for all indicated and
necessary treatment.
            RESPONSE:        Defendant object,s to this request as it calJ-s for
a J.egal- conclusion.              Furtherr BS worded, this defendant cannot
admit or deny this request, therefore the                      sErme   is denied
             56. Admit or deny that i-t was not legally                necessary to
have Travis Michael Montgomery's consent in order to have him
admitted to a facility                 as an inpatient.
            RESPONSE:        Defendant objects to this request as it cal-J-s for
a lega1 concJ-usion. Further, this case is in the very early
stages of discovery and defendant does not have sufficient
information at this time to adnrit or deny this request,
therefore defendant denies                 s€rme.

            51    - Admit or denv that the Pl-aintiff           and the Plalntiff's
decedent were :t hinh ri qlr for harm by v_irtue of Travls Michael



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 Montgomery's expressions                                   of overt homicidal- ideations directed
 toward them specifically.
                RESPONSE:                       As worded, this defendant cannot admit or deny
 this reguest, therefore it, is denied.
                58. Admit or deny that Travis Michael- Montgomery's
 homicidal- threats directed toward the Pl-aintiff                                    and the
 Plaintiff's                                decedent posed a cl-ear and present danger to the
 Plaintiff                                 and the Plaintiff's   decedent.
               RESPONSE:                        As worded, this defendant cannot admit or deny
 this request, therefore it is denied.
               59. Admit or deny that the Defendants, separately                                 and

 severally, had the 1ega1 duty to inform the Pfaintiff                                         and the
Pl-aintiff's decedent of the avail-ability of a psychiatric
inpatj-ent bed at Decatur General- Hospital West for Travis
Michael Montgomery.
              RESPONSE:                         As worded, this defendant cannot admit or deny
this request, therefore it is denied.                                        Further, defendant
objects to this request, as it cal1s for a legal. concJ-usion.
               50. Admit or deny that the Defendants, separately                                and

severally,                                 coufd have instructed    the Plaintiff    and the
Plaintiff's                                 decedent to transport rravis Michael Montgomery ro
Decatur General HospiIa1 West for inpatienL psychj-atric
evaluation and treatment.

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              RESPONSE:           As worded, this defendant cannot admit or     denY

 this request,, therefore it is denied.                    Further, defendant
 objects to this request as it calJ-s for a legal conclusion.
                                                  PARSONS, LEE   & JULTANO, P.C.



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                                                  Post Office Box 667228 (35266)
                                                  Bj-rmingham, Alabama 35216
                                                  (20s) 326-6600
                                        CERTIFICATE OF SERVICE

      I hereby certify that I have on this / + day of May,
 201-5, serveda copy of the foregoing pteaOing5n counsel- for al-l
parties to this proceeding by placing the same in the United
States Mail- properJ-y addressed and first class postage prepaid

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Pegasus Emergency GrouP SHA, LLC
C/O Martin Trois
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1007 East Main Street, Suite 300
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                                                         CIRCUIT COURT OF
                                                      WALKER COUNTY, ALABAMA
                                                        SUSAN ODOM, CLERK
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